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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


  MEGAN GARCIA,

                             Plaintiff,

  v.                                                            Case No. 6:24-cv-1903-ACC-UAM

  CHARACTER TECHNOLOGIES,
  INC., NOAM SHAZEER, DANIEL
  DE FRIETAS ADIWARSANA,
  GOOGLE, LLC, and ALPHABET,
  INC.,

                Defendants.
  ___________________________________

           AMENDED1 CASE MANAGEMENT AND SCHEDULING ORDER

             Having considered the case management report prepared by the parties, see

  Fed. R. Civ. P. 26 (f) and Local Rule 3.02, the Court enters this case management

  and scheduling order:

      Mandatory Initial Disclosures (pursuant to Fed.R.Civ.P.                                March 28, 2025
      26(a)(1) as amended effective December 1, 2000)
      Certificate of Interested Persons and Corporate Disclosure                             COMPLETED
         Statement
      Motions to Add Parties or to Amend Pleadings                                           March 28, 2025

      Disclosure of Expert Reports
                                                                      Plaintiff:              March 5, 2026
                                                                    Defendant:                 April 6, 2026

      Discovery Deadline                                                                         May 4, 2026

      Dispositive Motions, Daubert, and Markman Motions                                         May 18, 2026


  1
      To reflect the correct year for the “all other motions including motions in limine” deadline.
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   Meeting In Person to Prepare Joint Final Pretrial Statement          September 10, 2026

   Joint Final Pretrial Statement (Including a Single Set of            September 21, 2026
       Jointly Proposed Jury Instructions and Verdict Form
       (Also sent to Chamber’s email in Microsoft Word
       Format), Voir Dire Questions, Witnesses Lists, Exhibit
       Lists on Approved Form.)
   Trial Briefs
   All Other Motions Including Motions In Limine                             June 15, 2026
   (MULTIPLE MOTIONS IN LIMINE ARE NOT FAVORED.
   ALL REQUESTS TO LIMIT EVIDENCE SHALL
   THEREFORE BE INCLUDED IN A SINGLE MOTION NOT
   TO EXCEED 25 PAGES WITHOUT LEAVE OF COURT.
   RESPONSES ARE LIMITED TO 20 PAGES WITHOUT
   LEAVE OF COURT.)
   Trial Term Begins                                                     November 2, 2026
                                                                              at 9:00 a.m.
   Estimated Length of Trial                                                       10 days

   Jury/Non-Jury                                                                     Jury

   Mediation
                                                         Deadline:           June 28, 2026

   Designated Lead Counsel is directed to contact opposing
   counsel, select a mediator off the court’s approved list of
   mediators on the website, contact selected mediator and file a
   notice with the court within 14 days from the date of this order
   advising the court of the selected mediator and mediation date.

   Designated Lead Counsel                          Attorney Name:      Matthew Bergman
   Pursuant to Local Rule 4.03
   Lead Counsel                                Telephone Number:             206-741-4862


        The purpose of this order is to discourage wasteful pretrial activities, and to

  secure the just, speedy, and inexpensive determination of the action.                See

  Fed.R.Civ.P. 1; Local Rule 1.01(b), 3.02(c). This order controls the subsequent

  course of this proceeding. Fed.R.Civ.P. 16(b), (e). Counsel and all parties (both

  represented and pro se) shall comply with this order, with the Federal Rules of Civil

  Procedure, with the Local Rules of the United States District Court for the Middle
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  District of Florida, and with the Administrative Procedures for Electronic Filing

  (“Administrative Procedures”). A copy of the Local Rules and Administrative

  Procedures may be viewed at http://www.flmd.uscourts.gov. Counsel shall also

  comply with the rules governing the professional conduct of a member of The

  Florida Bar. Local Rule 2.01(e).

  I.    DISCOVERY

         A.     Certificate of Interested Persons and Corporate Disclosure
  Statement – This Court has previously ordered each party, governmental party,
  intervenor, non-party movant, and Rule 69 garnishee to file and serve a Certificate
  of Interested Persons and Corporate Disclosure Statement using a mandatory form.
  No party may seek discovery from any source before filing and serving a Certificate
  of Interested Persons and Corporate Disclosure Statement. A motion, memorandum,
  response, or other paper – including emergency motion – may be denied or stricken
  unless the filing party has previously filed and served a Certificate of Interested
  Persons and Corporate Disclosure Statement. Any party who has not already filed
  and served the required certificate shall do so within the time required by this order,
  or sanctions will be imposed.

        B.     Discovery Not Filed - The parties shall not file discovery materials
  with the Clerk except to support a motion or unless directed to do so by the Court.
  The parties are encouraged to provide electronic copies of all discovery requests they
  serve on a party or a non-party. See Fed. R. Civ. P. 26(b)(1), 34(b)(1)(B). The
  producing party shall conduct its production in the manner prescribed by Rule
  34(b)(2)(E).

         C.     Limits on Discovery - Absent leave of Court, the parties may take no
  more than ten depositions per side (not per party). Fed.R.Civ.P. 30(a)(2)(A) &
  31(a)(2)(A). Absent leave of Court, the parties may serve no more than twenty-five
  interrogatories, including sub-parts. Fed.R.Civ.P. 33(a). Absent leave of the Court
  or stipulation by the parties, each deposition is limited to one day of seven hours.
  Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on
  discovery within the context of the limits and deadlines established by this Case
  Management and Scheduling Order, but the parties may not alter the terms of this
  Order without leave of Court. See, e.g., Fed.R.Civ.P. 29.



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        D.     Discovery Deadline - Each party shall timely serve discovery requests
  so that the Rules allow for a response prior to the discovery deadline. The Court
  may deny as untimely all motions to compel filed after the discovery deadline.

        E.      Disclosure of Expert Testimony - On or before the date set forth in
  the above table for the disclosure of expert reports, the party shall fully comply with
  Federal Rule of Civil Procedure 26(a)(2) and 26(e). Expert testimony on direct
  examination at trial will be limited to the opinions, bases, reasons, data, and other
  information disclosed in the written expert report disclosed pursuant to this Order.
  Failure to disclose such information may result in the exclusion of all or part of the
  testimony of the expert witness.

         F.    Confidentiality Agreements - The parties may reach their own
  agreement regarding the designation of materials as “confidential.” There is no need
  for the Court to endorse the confidentiality agreement. The Court discourages
  unnecessary stipulated motions for a protective order. The Court will enforce
  stipulated and signed confidentiality agreements. Each confidentiality agreement or
  order shall provide, or shall be deemed to provide, that “no party shall file a
  document under seal without first having obtained an order granting leave to file
  under seal on a showing of particularized need.” See also “Motions to File Under
  Seal” below.

  II.   MOTIONS

         A.     Certificate of Good Faith Conference - Before filing any motion in a
  civil case, the moving party shall confer with the opposing party in a good faith
  effort to resolve the issues raised by the motion and shall file with the motion a
  statement certifying that the moving party has conferred with the opposing party,
  that the parties have been unable to agree on the resolution of the motion, and the
  means by which the conference occurred. Local Rule 3.01(g). No certificate is
  required in a motion for injunctive relief, for judgment on the pleadings, for
  summary judgment, or to certify a class. Local Rule 3.01(g)(1). The Court expects
  that a party alleging that a pleading fails to state a claim will confer with counsel for
  the opposing party before moving to dismiss and will agree to an order permitting
  the filing of a curative amended pleading. Fed.R.Civ.P.15. The term “counsel” in
  Rule 3.01(g) includes pro se parties acting as their own counsel, thus requiring
  movants to confer with pro se parties and requiring pro se movants to file Rule
  3.01(g) certificates. A certification to the effect that opposing counsel was
  unavailable for a conference before filing a motion is insufficient to satisfy the
  parties’ obligation to confer. See Local Rule 3.01(g). The term “confer” in Rule
  3.01(g)(1) requires a substantive conversation in person or by telephone in a good
  faith effort to resolve the motion without court action and does not envision an
  exchange of ultimatums by email. If the opposing party is unavailable before the
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  motion’s filing, the movant after filing must try diligently for three days to contact
  the opposing party. Local Rule 3.01(g)(3). After either contact or expiration of the
  three days, the movant must supplement the motion with a statement certifying
  whether the parties have resolved all or part of the motion. Failure to timely
  supplement can result in denial of the motion without prejudice. Counsel must
  respond promptly to inquiries and communications from opposing counsel, and the
  purposeful evasion of a communication under this rule can result in a sanction. Local
  Rule 3.01(g)(3). The Court will deny motions that fail to include an appropriate,
  complete Rule 3.01(g) certificate.

        B.     Extension of Deadlines

        The parties may not extend deadlines established in this Case Management
  and Scheduling Order without the approval of the Court.

               1.     Dispositive Motions Deadline and Trial Not Extended –
  Motions to extend the dispositive motions deadline or to continue the trial are
  generally denied. The Court will grant an exception only when necessary to prevent
  manifest injustice. A motion for a continuance of the trial is subject to denial if it
  fails to comply with Local Rule 3.08. The Court cannot extend a dispositive motion
  deadline to the eve of trial. At least five months are required before trial to receive
  memoranda in opposition to a motion for summary judgment, and to research and
  resolve the dispositive motion sufficiently in advance of trial.

               2.      Extensions of Other Deadlines Disfavored - Motions for an
  extension of other deadlines established in this order, including motions for an
  extension of the discovery period, are disfavored. The deadline will not be extended
  absent a showing of good cause. Fed.R.Civ.P. 16(b)(4); Local Rule 3.08. Failure to
  complete discovery within the time established by this Order shall not constitute
  cause for continuance. A motion to extend an established deadline normally will be
  denied if the motion fails to recite that: 1) the motion is joint or unopposed; 2) the
  additional discovery is necessary for specified reasons; 3) all parties agree that the
  extension will not affect the dispositive motions deadline and trial date; 4) all parties
  agree that any discovery conducted after the dispositive motions date established in
  this Order will not be available for summary judgment purposes; and 5) no party will
  use the granting of the extension in support of a motion to extend another date or
  deadline. The filing of a motion for extension of time does not toll the time for
  compliance with deadlines established by Rule or Order.

        C.    Motions to Compel and for Protective Order - Motions to compel
  and motions for a protective order will be denied unless the motion quotes in full
  each interrogatory, question, or request and the opposing party’s objection or

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  response which is asserted to be insufficient, as well as the reasons the motion should
  be granted.

         D.   Motions to File Under Seal - Whether documents filed in a case may
  be filed under seal is a separate issue from whether the parties may agree that
  produced documents are confidential. Motions to file under seal are disfavored, and
  such motions will be denied unless they comply with Local Rule 1.11.

         E.     Memoranda in Opposition - Each party opposing any written motion,
  with certain exceptions, shall file and serve within fourteen days after being served
  with such motion, a legal memorandum with citation of authorities in opposition to
  the relief requested. Local Rule 3.01(c). Each party opposing a motion to dismiss,
  for judgment on the pleadings, for summary judgment (discussed in Section II H
  below), to exclude or limit expert testimony, to certify a class, for a new trial, or to
  alter or amend the judgment, shall serve a response within twenty-one days after
  service of the motion. Local Rule 3.01(c). Where no memorandum in opposition has
  been filed, the Court routinely grants the motion as unopposed. Unopposed motions
  must include “unopposed” in the title of the motion. Local Rule 1.09.

         F.     Emergency Motions - The Court may consider and determine
  emergency motions at any time. Local Rule 3.01(e). Counsel should be aware that
  the designation “emergency” may cause a judge to abandon other pending matters
  in order to immediately address the “emergency.” The Court will sanction any
  counsel or party who designates a motion as “emergency” under circumstances that
  are not a true emergency. It is not an emergency when counsel has delayed discovery
  until the end of the discovery period. Promptly after filing an emergency motion,
  counsel shall place a telephone call to the chambers of the presiding judge to notify
  the court that an emergency motion has been filed.

         G.    Page Limit - No party shall file a motion and supporting memorandum
  in excess of twenty-five pages. Local Rule 3.01(a). No party shall file an opposing
  brief or memorandum in excess of twenty pages. Local Rule 3.01(b). A motion
  requesting leave to file either a motion in excess of twenty-five (25) pages, a
  response in excess of twenty (20) pages, or a reply or further memorandum shall not
  exceed three (3) pages, shall specify the length of the proposed filing, and shall not
  include, as an attachment or otherwise, the proposed motion, response, reply, or
  other paper. Local Rule 3.01. Motions for relief from page limitations are disfavored
  and will not be granted without a specific showing of good cause.

        H.     Motions for Summary Judgment

                1.     Required Materials - A motion for summary judgment shall
  specify the material facts as to which the moving party contends there is no genuine
  issue for trial, and shall include a memorandum of law, and shall be accompanied
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  by affidavits and other evidence in the form required by Fed. R. Civ. P. 56. The
  motion for summary judgment and supporting memorandum of law shall be
  presented in a single document of not more than twenty-five pages. Local Rule
  3.01(a). Each party opposing a motion for summary judgment shall serve, within
  twenty-one days after being served with such motion, a legal memorandum with
  citation of authorities in opposition to the relief requested as required by Local Rule
  3.01(b) of not more than twenty pages. The memorandum in opposition shall specify
  the material facts as to which the opposing party contends there exists a genuine
  issue for trial, and shall be accompanied by affidavit(s) and other evidence2 in the
  form required by Fed. R. Civ. P. 56. The moving party may file a reply
  memorandum, not exceeding ten pages, within fourteen days after the response is
  served. Local Rule 3.01(d). Both the movant and the party opposing summary
  judgment shall provide pinpoint citations to the pages and lines of the record
  supporting each material fact. General references to a deposition are inadequate. On
  or before the date on which the memorandum in opposition is due, the parties may
  also file a stipulation of agreed material facts signed by the movant and the parties
  opposing summary judgment pursuant to Local Rule 3.05. Material facts set forth
  in the stipulation will be deemed admitted for the purposes of the motion.

                2.    Under Advisement - The Court takes a motion for summary
  judgment under advisement forty-five days from the date it is served, unless the
  Court orders a different date. Unless specifically ordered, the Court will not hold a
  hearing on the motion. Failure to oppose any motion for summary judgment may
  result in the entry of a judgment for the movant without further proceedings. See
  Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v. Wainwright,
  772 F.2d 822, 825 (11th Cir. 1985) (per curiam); Fed.R.Civ.P. 56(e). All
  requirements in this Order apply to pro se litigants as well as to parties represented
  by counsel.

         I.     Daubert and Markman Motions - On or before the date established in
  the above table for the filing of motions for summary judgment, any party seeking a
  ruling pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
  (1993) (admissibility of expert opinions) or pursuant to Markman v. Westview
  Instruments, Inc., 517 U.S.370 (1996) (interpretation of a patent claim) shall file and
  serve an appropriate motion. The parties shall prepare a glossary of technical or
  scientific terms where appropriate for the Court.

        J.     All Other Motions Including Motions In Limine - On or before the
  date established in the above table, the parties shall file and serve all other motions

  2
   Video and audio recordings shall be submitted via a “notice of filing” with a dropbox link to the recording or on a
  USB stick filed with the Clerk, and not as a DVD or CD.


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  including motions in limine. Local Rule 3.01(g) applies, and the parties shall confer
  to define and limit the issues in dispute.

  III.   JOINT FINAL PRETRIAL STATEMENT

         A.    Meeting In Person - On or before the date established in the above
  table, lead trial counsel for all parties and any unrepresented parties shall meet
  together in person pursuant to Local Rule 3.06 in a good faith effort to:

                1.   settle the case; the parties shall thoroughly and exhaustively
  discuss settlement of the action before undertaking the extensive efforts needed to
  conduct final preparation of the case for trial and to comply with the requirements
  of this order;

                2.     stipulate to as many facts and issues as possible; in order to assist
  the Court, the parties shall make an active and substantial effort to stipulate at length
  and in detail as to agreed facts and law, and to limit, narrow, and simplify the issues
  of fact and law that remain contested; as a rule, parties who have complied with this
  requirement in good faith will file a Joint Final Pretrial Statement listing far more
  agreed facts and principles of law than those that remain for determination at trial;

                 3.     tag, mark, identify, examine, copy, and list all original trial
  exhibits (including actual document exhibits) that any party will offer in evidence or
  otherwise tender to any witness during trial [Local Rule 3.07(a), (b)]; and prepare
  and exchange a final exhibit list on the Clerk’s approved form (attached to this order)
  bearing a description identifying each exhibit and sponsoring witness [Local Rule
  3.07(b)]; it is anticipated that counsel will agree to the admission of the bulk of the
  opposing parties’ exhibits without objection and shall designate on the exhibit list
  the exhibits which the Court may admit without objection at trial. Absent good
  cause, the Court will not receive in evidence over objection any exhibits – including
  charts, diagrams, and demonstrative evidence – not presented to opposing counsel
  or unrepresented parties for inspection and copying at the required meeting or not
  listed in the joint final pretrial statement. Photographs of sensitive exhibits (i.e.,
  guns, drugs, valuables) and of non-documentary evidence, and reductions of
  documentary exhibits larger than 8½” by 14” to be substituted for original exhibits
  after conclusion of the trial must be presented to opposing counsel for examination
  at the meeting to prepare the Joint Final Pretrial Statement. Objections to such
  photographs or reductions of exhibits must be listed in the Joint Final Pretrial
  Statement. The parties are advised that the design of certain courtrooms may
  preclude the use of large exhibits and posters in a jury trial. The parties are directed
  to contact the trial judge’s courtroom deputy clerk to discuss exhibits and equipment
  to be used during trial; and

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              4.      exchange the names and addresses of all witnesses and state
  whether they will likely be called.

         B.     The Joint Final Pretrial Statement

                 1.    Form of Joint Final Pretrial Statement - On or before the date
  established in the above table, the parties shall file a Joint Final Pretrial Statement
  that strictly conforms to the requirements of Local Rule 3.06(b) and this Order. This
  case must be fully ready for trial at the time that the Joint Final Pretrial
  Statement is due. Lead trial counsel for all parties, or the parties themselves if
  unrepresented, shall sign the Joint Final Pretrial Statement. The Court will strike
  pretrial statements that are unilateral, incompletely executed, or otherwise
  incomplete. Inadequate stipulations of fact and law will be stricken. Sanctions may
  be imposed for failure to comply, including the striking of pleadings. At the
  conclusion of the final pretrial conference, all pleadings are deemed to merge into
  the Joint Final Pretrial Statement, which will control the course of the trial. Local
  Rule 3.06(b).

                2.    Exhibit List - The exhibit list filed in compliance with Local
  Rules 3.06(c)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this
  order). Unlisted exhibits will not be received into evidence at trial, except by order
  of the Court in the furtherance of justice. The Joint Final Pretrial Statement must
  attach each party’s exhibit list on the approved form listing each specific objection
  (“all objections reserved” does not suffice) to each numbered exhibit that remains
  after full discussion and stipulation. Objections not made – or not made with
  specificity – are waived.

                3.     Witness List - On the witness list required by Local Rule
  3.06(b)(5), the parties and counsel shall designate which witnesses will likely be
  called, and also designate which witnesses may be called. Absent good cause, the
  Court will not permit over objection testimony from unlisted witnesses at trial. This
  restriction does not apply to true rebuttal witnesses (i.e., witnesses whose testimony
  could not reasonably have been foreseen to be necessary). Records custodians may
  be listed but will not likely be called at trial, except in the rare event that authenticity
  or foundation is contested. For good cause shown in compelling circumstances, the
  Court may permit presentation of testimony in open court by contemporaneous
  transmission from a different location. Fed.R.Civ.P. 43(a).

               4.    Depositions - The Court encourages stipulations of fact to avoid
  calling unnecessary witnesses. Where a stipulation will not suffice, the Court permits
  the use of depositions. At the required meeting, counsel and unrepresented parties
  shall agree upon and specify in writing in the Joint Final Pretrial Statement the pages
  and lines of each deposition (except where used solely for impeachment) to be
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  published to the trier of fact. The parties shall include in the Joint Final Pretrial
  Statement a page-and-line description of any testimony that remains in dispute after
  an active and substantial effort at resolution, together with argument and authority
  for each party’s position. The parties shall prepare for submission and consideration
  at the final pretrial conference or trial an edited and marked copy (as to the portion
  offered by each party) of any deposition or deposition excerpt which is to be offered
  in evidence.

                5.    Joint Jury Instructions, Verdict Form, Voir Dire Questions -
  In cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial
  Statement a single jointly-proposed set of jury instructions in order of
  presentation to the jury, together with a single jointly-proposed jury verdict form.
  The parties should be considerate of their jury, and therefore should submit short,
  concise special verdict forms. See Fed. R. Civ. P. 49(a). The Court prefers pattern
  jury instructions approved by the United States Court of Appeals for the Eleventh
  Circuit. A party may include at the appropriate place in the single set of jointly-
  proposed jury instructions a contested charge, so designated with the name of the
  requesting party and bearing at the bottom a citation of authority for its inclusion,
  together with a summary of the opposing party’s objection. The Court will deny
  outright a proposed instruction that is “slanted” in any way. The Court requires that
  the parties send to the Chambers’ email the single set of jury instructions and
  verdict form, in Microsoft Word format. The parties may include in the Joint
  Final Pretrial Statement a single list of jointly-proposed questions for the Court to
  ask the venire during voir dire.

         C.     Coordination of Joint Final Pretrial Statement - All parties are
  responsible for filing a Joint Final Pretrial Statement in full compliance with this
  order. Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have
  the primary responsibility to coordinate compliance with the sections of this order
  that require a meeting of lead trial counsel and unrepresented parties in person and
  the filing of a Joint Final Pretrial Statement and related material. See Local Rule
  3.10 (relating to failure to prosecute). If the plaintiff is proceeding pro se, defense
  counsel shall coordinate compliance. If counsel is unable to coordinate such
  compliance, counsel shall timely notify the Court by written motion or request for a
  status conference.

        D.     Trial Briefs and Other Materials

                1.    Trial Briefs - In the case of a non-jury trial, on or before the date
  established above, each party shall file and serve a trial brief with proposed findings
  of fact and conclusions of law, and send it to the Chambers’ email in Microsoft Word
  format. The parties may file a trial brief on or before the same date in the case of a
  jury trial.
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                2.     Exhibit Notebook - On the first day of a jury trial or non-jury
  trial, the parties shall provide to the Court a bench notebook containing marked
  copies of all exhibits. The parties may contact the courtroom deputy clerk for the
  trial judge to determine whether this requirement may be waived.

  IV.   MEDIATION

         A.     Purpose - To minimize costly pretrial procedures in a case that may be
  equitably settled, and to secure the just, speedy, and inexpensive determination of
  this action, all parties shall participate in good faith in mediation. See Fed.R.Civ.P.
  1; Fed.R.Civ.P. 16(a)(5); Local Rule 4.01.

         B.    The Mediator - This Court prefers to appoint the certified and
  approved mediator, if any, chosen by the parties in their Case Management Report.
  If no such mediator has been chosen, the Court designates the default mediator listed
  in the above table pursuant to Local Rule 4.03. The mediator shall conduct the
  mediation conference in the conference room of the mediator’s law firm or office at
  a time and date selected by the mediator within the confines of this order. All
  mediations shall be conducted within one of the counties served by the Orlando
  Division (Brevard, Orange, Osceola, Seminole, or Volusia) unless the parties
  obtain the Court’s approval prior to filing their Notice advising the Court of
  the mediation date.

        C.      Last Date to Mediate - The parties shall complete the mediation
  conference on or before the mediation date set forth earlier in the above table.
  Despite Local Rule 4.03(c), neither the mediator nor the parties have authority to
  continue the mediation conference beyond this date except on express order of the
  Court. In a complex case, or a case involving multiple parties, the mediator has the
  authority to conduct the mediation in a series of sessions and in groups of parties so
  that mediation is complete by the last date to mediate.

         D.    Mediator’s Authority - The mediator shall have all powers and
  authority to conduct a mediation and to settle this case as are described in Chapter
  Four of the Local Rules, except as limited by this order. The mediation shall continue
  until adjourned by the mediator. In order to coordinate the mediation conference,
  the mediator may set an abbreviated scheduling conference prior to the scheduled
  mediation. At such time, the mediator may designate one or more coordinating
  attorneys who shall be responsible for conferring with the mediator regarding the
  mediation conference. If necessary, the coordinating attorney may coordinate the
  rescheduling of a mediation conference within the time allowed in this order.

        E.     General Rules Governing Mediation Conference


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               1.     Case Summaries - Not less than two days prior to the mediation
  conference, each party shall deliver to the mediator a written summary of the facts
  and issues of the case.

                2.     Identification of Corporate Representative - As part of the
  written case summary, counsel for each corporate party shall state the name and
  general job description of the employee or agent who will attend and participate
  with full authority to settle on behalf of the corporate party.

                3.     Attendance Requirements and Sanctions - Each attorney
  acting as lead trial counsel, and each party (and in the case of a corporate party, a
  corporate representative) with full authority to settle, shall attend and participate in
  the mediation conference. In the case of an insurance company, the term “full
  authority to settle” means authority to settle for the full value of the claim or policy
  limit. The Court will impose sanctions upon lead counsel and parties who do not
  attend and participate in good faith in the mediation conference.

              4.    Authority to Declare Impasse - Participants shall be prepared
  to spend as much time as may be necessary to settle the case. No participant may
  force the early conclusion of a mediation because of travel plans or other
  engagements. Only the mediator may declare an impasse or end the mediation.

                5.     Restrictions on Offers to Compromise - Evidence of an offer
  to compromise a claim is not admissible to prove liability for or invalidity of the
  claim or its amount. Fed. R. Evid. 408 (includes evidence of conduct or statements
  made in compromise negotiations); Local Rule 4.03(g). All discussion,
  representations and statements made at the mediation conference are privileged
  settlement negotiations. Except in a supplemental proceeding to enforce a settlement
  agreement, nothing related to the mediation conference shall be admitted at trial or
  be subject to discovery. Local Rule 4.03(g); Fed. R. Evid. 408. A communication
  between a party and a mediator during a private caucus is also confidential, unless
  the party tells the mediator that it is not.

         F.     Compensation of Mediators - Absent agreement of the parties and the
  mediator, and in accordance with Local Rule 4.02(d), mediators shall be
  compensated at a reasonable hourly rate provided by order of the Court after
  consideration of the amount in controversy, the nature of the dispute, the resources
  of the parties, the prevailing market rate for mediators in the applicable market, the
  skill and experience of the mediator, and other pertinent factors. Unless altered by
  order of the Court, the cost of the mediator's services shall be borne equally by the
  parties to the mediator conference.

       G.     Settlement and Report of Mediator - A settlement agreement reached
  between the parties shall be reduced to writing and signed by the parties and their
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  attorneys in the presence of the mediator. Within seven days of the conclusion of
  the mediation conference, the mediator shall file and serve a written mediation report
  stating whether all required parties were present, whether the case settled, and
  whether the mediator was forced to declare an impasse. See Local Rules 3.09,
  4.03(f). The mediator may report any conduct of a party or counsel that falls short
  of a good faith effort to resolve the case by agreement or fails to comply with this
  Order.

  V.     FINAL PRETRIAL CONFERENCE

        A.     Lead Trial Counsel and Parties - If a final pretrial conference is set,
  lead trial counsel and local counsel (if applicable) for each party, together with
  any unrepresented party, must attend in person unless previously excused by
  the Court. See Local Rule 3.06(a); Fed.R.Civ.P. 16(d).

         B.     Substance of Final Pretrial Conference - Since this case must be fully
  ready for trial at the time that the Joint Final Pretrial Statement is due, at the final
  pretrial conference, all counsel and parties must be prepared and authorized to
  accomplish the purposes set forth in Fed.R.Civ.P. 16 and Local Rule 3.06, including
  formulating and simplifying the issues; eliminating frivolous claims and defenses;
  admitting facts and documents to avoid unnecessary proof; stipulating to the
  authenticity of documents; obtaining advance rulings from the Court on the
  admissibility of evidence; settling the dispute; disposing of pending motions;
  establishing a reasonable limit on the time allowed for presenting evidence; and such
  other matters as may facilitate the just, speedy, and inexpensive disposition of the
  action. See Fed.R.Civ.P. 16(c)-(d).

  VI. SANCTIONS - The Court will impose sanctions on any party or attorney: 1)
  who fails to attend and to participate actively in the meeting to prepare the Joint
  Pretrial Statement, or who refuses to sign and file the agreed document; 2) who fails
  to attend the Final Pretrial Conference, or who is substantially unprepared to
  participate; 3) who fails to attend the mediation and actively participate in good faith,
  or who attends the mediation without full authority to negotiate a settlement, or who
  is substantially unprepared to participate in the mediation; or 4) who otherwise fails
  to comply with this order. Sanctions may include but are not limited to an award of
  reasonable attorney's fees and costs, the striking of pleadings, the entry of default,
  the dismissal of the case, and a finding of contempt of court. See Fed.R.Civ.P. 16(f)
  and 37; Local Rules 3.06, 4.03; 28 U.S.C. § 1927.

  VII. TRIAL

          A.    Trial Before District Judge - A case scheduled for trial before a
  United States District Judge normally will be called for trial on the first day of the
  trial term indicated in the above table, or as soon after that date as is possible in light
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       of the Court’s felony and civil trial calender.1 Cases not reached for trial in the month
       scheduled will be carried over to the following month on a trailing trial calendar, and
       issued subpoenas will continue in force. Counsel, parties, and witnesses shall be
       available on twenty-four hours notice for trial after the beginning of the trial term.
       A different District Judge or visiting judge may try the case. Local Rule 1.04(b). The
       case may be set for trial in the Orlando Division, Tampa Division, Fort Myers
       Division, Ocala Division, or Jacksonville Division of the Court. Local Rule 1.04(a).
       Absent a showing of good cause, any party whose turn it is to provide evidence will
       be deemed to have rested if, during the hours designated for trial, the party has no
       further evidence or witnesses available.

              B.     Trial Before a Magistrate Judge - A case scheduled for trial before a
       United States Magistrate Judge will be called for trial on a date certain. With respect
       to a civil case that remains pending before a District Judge as of the date of this
       order, the United States District Judges of the Middle District of Florida wish to
       afford the parties the opportunity to consent to proceed before a Magistrate Judge.
       Consent must be unanimous. A United States Magistrate Judge is available pursuant
       to 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73(a) to conduct all further proceedings in
       this case (or specified motions in this case), to conduct a jury or non-jury trial
       beginning on a date certain, and to enter final judgment. A party may appeal a final
       judgment of a Magistrate Judge to the United States Court of Appeals for the
       Eleventh Circuit in the same manner as an appeal from the district court. 28 U.S.C.
       § 636(c)(3); Fed.R.Civ.P. 73. A party is free to withhold consent without adverse
       substantive consequences. 28 U.S.C. § 636 (c)(2); Fed.R.Civ.P. 73(b). Consent
       forms are attached to this scheduling order.

              C.     Settlement - Counsel shall immediately notify the Court upon
       settlement of any case. Local Rule 3.09(a). The parties shall notify the Court of any
       settlement or other disposition of the case which will eliminate the need for a jury
       by 11:30 a.m. on the last business day before the date scheduled for jury selection.
       Failure to do so will subject each party to joint and several liability for jury costs.
       Regardless of the status of settlement negotiations, the parties shall appear for all
       scheduled hearings, including the Final Pretrial Conference and for trial absent the
       filing of a stipulation of dismissal signed by all parties who have appeared in the




   1
    This case may be reassigned to a visiting District Judge at any time. In unusual and extraordinary circumstances, the Court may re-
notice this case for trial shortly before the first day of the trial term if necessary to accommodate the trial schedule of the District Judge.

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  action (or notice of dismissal if prior to answer and motion for summary judgment).
  Fed.R.Civ.P. 41(a).

        DONE AND ORDERED in Orlando, Florida, on February 25, 2025.




  Attachments:             Exhibit List Form [mandatory form]
                           Magistrate Judge Consent / Entire Case
                           Magistrate Judge Consent / Specified Motions

  Copies to:               United States Magistrate Judge
                           All Counsel of Record
                           All Pro Se Parties




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                                           EXHIBIT LIST
                                 Government                    Plaintiff                  Defendant                  Court




                        Case No.
                        Style:



 Exhibit         Date                  Date Admitted Sponsoring                     Objections /                 Description of
 No.             Identified                                  Witnesses              Stipulated                   Exhibit
                                                                                    Admissions1




         1
         Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement without objections.
Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box on the left must be one inch wide
to accommodate the Clerk’s stamp.
   Case 6:24-cv-01903-ACC-UAM                              Document 77                Filed 02/25/25      Page 17 of 18 PageID 634
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                               Middle District of Florida

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.
                                                                                )
                               Defendants                                       )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                  District Judge’s signature




                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
   Case 6:24-cv-01903-ACC-UAM                            Document 77                Filed 02/25/25        Page 18 of 18 PageID 635
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge




                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District of Florida

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                             Defendants                                        )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).


                  Motions:




            Parties’ printed names                                  Signatures of parties or attorneys                             Dates




                                                                   Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                      District Judge’s signature


                                                                                                          Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.



                                                                          - 18 -
